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                                                                                FtLE.0
                                                                        U.S. DISTRICT COURT
     'UNITED STATES DISTRICT COURT FOR THE DISTRICT OF m A                       OF MARYLAND
                               (Greenbelt)
                                                                    2015 JUN 18 AM 9:06
Dawud Best                                                               CLEFTS OF HOE
5800 Carlyle Street                                                       AT GREENBELT
Cheverly, MD 20785
                                                                    BY (   N)     ._ DEPUTY
       P1 *ntiff,

V.                                                CASE NO. 8:15-cv-01141-PWG
                                                  JURY TRIAL DEMANDED
Credit B reau of Napa County, Inc.
Serve: ilihe Corporation Trust Incorporated
        3 1 West Camden Street                    Judge: Paul W Grimm
          altimore, MD 21201

          efendant,

Verizon 1Iary1and LLC
Serve: T Corporation System
        111 Eighth Avenue
         ew York, NY 10007

          efendant,

The CBE Group, Inc.
Serve: SC-Lawyers Incorporating Service Co.
       7 St. Paul Street, Suite 820
         altimore, MD 21202

          efendant,

Credit C ntrol Service, Inc.
Serve: Registered Agent Solutions, Inc.
        836 Park Ave 2nd Flr Unit B
         altimore, MD 21201

          efendant,

E Mortgage Management, L.L.C.
Serve: at'l Registered Agents, Inc. of MD
       31 W. Camden Street
        altimore, MD 21201

        Defendant,



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MDA Ca ital, Inc.
Serve: he Corporation Trust Incorporated
       51 West Camden Street
       altimore, MD 21201

Credit 0 e Financial
Serve:      Registered Agents, Inc. of NV
       3 1 South Division Street
       C on City, NV 89703

      D fendant,

Granite I ay Acceptance Inc.
Serve: usiness Filings Intl Incorporation
        3*1 W. Camden Street
        lialtimore, MD 21201

       D fendant,

Receivab es Performance Management, Lk
Serve: lihe Corporation Trust Incorporated
       3 1 West Camden Street
       Eialtimore, MD 21201

       D fendant,

I.C. Syst m, Inc.
Serve: 1he Corporation Trust Incorporated
           1 West Camden Street
          altimore, MD 21201

       D fendant,

Equifax Iformation Services, Llc.
Serve: SC-Lawyers Incorporating Service Co.
         St. Paul Street, Suite 820
         altimore, MD 21202

          efendant,

Trans Un'on, Lk.
Serve: •SC-Lawyers Incorporating Service Co.
       7 St. Paul Street, Suite 820
         altimore, MD 21202



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            efendant,                                  )
                                                       )
Experian Information Solutions, Inc.
Serve: The Corporation Trust Incorporated
       3 1 West Camden Street
         altimore, MD 21201

            efendant.
        PLAINTIFF'S SECOND AMENDED COMPLAINT AND JURY DEMAND

       C MES the Plaintiff, Dawud Best, and for his complaint against the Defendants alleges

the follo g:
                                 PRELIMINARY STATEMENT

       1.       This is an action for actual, statutory and punitive damages, costs and attorney's

fees brouht pursuant to the Fair Credit Reporting Act, 15 U.S.C. §1681 et seq. ("FCRA"), the

Fair Debt Collection Practices Act, 15 U.S.C. §1692 et seq. ("FDCPA") and the Maryland

Consumer Debt Collection Act § 14-202 et. Seq ("MCDCA").

                                            PARTIES

       2.       The plaintiff is a natural person and resides in Cheverly, Maryland. He is a

"consumer" as defined by the FCRA, 15 U.S.C. §1681a(c) and the FDCPA, 15 U.S.C.

§1692a(3).

       3.       Defendant Verizon Maryland LLC ("Verizon") is a telecommunications company

that provi es intemet, cable and phone service in the State of Maryland.

       4.       Defendant Credit Bureau of Napa County, Inc., dba Chase Receivables ("Chase")

is in the b mess of collecting debts allegedly owed to its clients.

       5.       Defendant The CBE Group, Inc. ("CBE") is in the business of collecting debts

allegedly awed to its clients.



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       6.      Defendant Credit Control Service, Inc., dba Credit Central Services ("CCS")

represent credit grantors on a nationwide basis in the recovery of their overdue payment

obligati° s.

       7.      Defendant E Mortgage Management, L.L.C. ("EMM") is licensed mortgage bank

in over 2 states.

       8.      Defendant MDA Capital, Inc.("MDA") is a lender that specializes in sub-prime

auto loan

       9.      Defendant Credit One Financial ("Credit One") is a bank holding company

registered in Nevada. Credit One Bank, U.S. based bank specializing in credit cards, it is held by

Credit 0 e. Credit One Financial is a wholly owned subsidiary of Sherman Financial Group,

LLC.

       10      Defendant Granite Bay Acceptance Inc. ("GBA") is a direct/indirect auto finance

lender. G A uses non-traditional underwriting procedures to identify credit worthy consumers

for loans itat otherwise would be overlooked due to credit score or recent derogatory history.

       11      Defendant Receivables Performance Management, Lie ("RPM") is a self-

described ational leader in accounts receivable management.

12.    D fendant I.C. System, Inc. ("LC.") is a self-described family and Women-

owned co ection agency headquartered in Minnesota that was founded in 1938.

       13 Defendants Equifax Information Services, LLC ("Equifax"), Experian

Informati n Solutions, Inc. ("Experian") and Trans Union, LLC ("Transunion") are "consumer

reporting encies," ("CRAs") as defined in 15 U.S.C. §1681a(f).

                                             FACTS

       14.     Plaintiff obtained his credit reports and found:


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               (i)     Defendants Verizon and CCS were reporting collection accounts; and

               (ii)    Defendants EM1v1, MDA, Credit One, Granite, RPM, and I.C. had

                       obtained his credit reports.

                                      CCS Collection Account

15.          CCS collection account was completely unfounded and should have never been

reported n Plaintiffs credit file(s)/report(s). CCS was not attempting to collect a debt that

Plaintiff ad any obligation to pay. Upon information and belief, CCS was simply reporting the

debt as a ollection method for the sole purpose of extorting money from the Plaintiff

CCS' bus ess model is to report false collection accounts to the CRAs and CCS anticipates that
its dubious debt collection practices will go unchallenged by unwitting consumers — the

insensibl consumers that are duped by CCS' scheme subsequently submit payments to CCS.

CCS was aware, prior to generating the collection account, that it did not possess the legal right

to post th adverse collection account on Plaintiffs credit file(s). Nevertheless, CCS knowingly

reported e false information to the CRAs in hopes that Plaintiff would submit payment instead

of challen     CCS' false claim(s).

       16      Plaintiff forwarded a dispute of the CCS collection account to the CRAs. The

CCS coil lion account was deleted following Plaintiff's dispute. Either CCS instructed the

CRAs to elete the account or the CRAs knew CCS was an unreliable source and immediately

deleted th account after receiving Plaintiffs notice of dispute.

       17      CCS has 504 complaints lodged against it with the BBB, including 440 related to

billing an collection issues. The CRAs knew or should have known that CCS was not a reliable

source of credit information. Nevertheless, the CRAs treated CCS as a reliable source of

informati n and did not institute appropriate measures to verify CCS' reporting was accurate.


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                                   Verizon Collection Account

               Verizon is reporting account # 979200**** to the CRAs.
               On October 20, 2014 Plaintiff mailed dispute letters to the CRAs that disputed the

Verizon ccount 979200****. Upon information and belief, the CRAs forwarded the dispute to

Verizonfor an investigation of the account.

       20.     The CRAs responded between November 14th and November 18th 2014 and each

verified e Verizon account 979200**** as being reported accurately.

       21.     Plaintiff also disputed the account #979200**** directly with Verizon by letter

dated D- bember 1, 2014.

       2       Verizon responded by letter dated December 30, 2014 in which it stated it "do[es]

not show that the account in question was ever reported by Verizon to the consumer reporting

agencies.'

       23      Defendants Chase and CBE attempted to collect on this nonexistent Verizon debt.

       24      Chase sent at least two letters in October and November 2014 where it falsely

claimed P aintiff owed $432.14 to Verizon for account 9792002317071220.

       25      Likewise, CBE sent a letter in January 2015 attempting to collect on the

nonexiste t Verizon debt.
                                  Unauthorized Credit Pulls

       26      RPM obtained Plaintiffs credit report from Transunion on July 31, 2013. The

Defendan is/was not collecting on a debt of the Plaintiff and therefore RPM did not have a

pennissib e purpose to obtain Plaintiffs credit report.




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         27.         I.C. obtained Plaintiffs credit report from Experian on November 4, 2013. The

Defend            is/was not collecting on a debt of the Plaintiff and therefore I.C. did not have a

perrnissib e purpose to obtain Plaintiffs credit report.

              .      GBA obtained Plaintiffs credit report from Experian on March 6, 2013 and

Septem            2013. Plaintiff did not receive a firm offer of credit from Granite and therefore

Granite d d not have a permissible purpose to access Plaintiffs credit report.

         29          Credit One obtained Plaintiffs credit report from Experian on December 5th

2012, Oc ber 18th 2013, December 23rd 2013, February 11th 2014, March 20th 2014, June 9th

2014, Jul 21st 2014 and August 26th 2014. Plaintiff does not have an account with Credit One

and has n t received a firm offer of credit from Credit One. Credit One accessed Plaintiffs credit

report for a reason not permitted under the FCRA.

         30          MDA obtained Plaintiffs credit report from Equifax on December 20th 2013,

February P0th 2014, March 5th 2014, May 1st 2014, May 17th 2014 and September 5th 2014.

Plaintiff sid not receive a firm offer of credit from MDA and therefore MDA accessed Plaintiffs

credit rep irt for an impermissible purpose.

         31          EMM obtained Plaintiffs credit report from Equifax on December 17th 2013 and

May 17th 2014. Plaintiff did not receive a firm offer of credit from EMM and therefore EMM

accessed laintiffs credit report for an impermissible purpose.

         32          The CRAs failed to maintain and/or employ reasonable procedures to prevent the

release of laintiffs credit report for unauthorized and impermissible purposes.

                                COUNT ONE: VIOLATIONS OF FCRA

         33          Plaintiffs incorporate paragraphs 1-32 by reference.




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       3.      Equifax, Experian and Transunion violated 15 U.S.C. §1681i(a)(1),(5)(A) by

failing to conduct a reasonable investigation failing to promptly delete the disputed accounts

after rece ing Plaintiff's dispute.

       35      Equifax, Experian and Transunion violated its obligations under 15 U.S.C.

§1681e(b (1) to follow reasonable procedures to assure maximum accuracy by relying on

unreliable discredited sources of information, such as CCS. See ¶17, supra.

       36      Equifax, Experian and Transunion violated its obligations under 15 U.S.C.

§168 le(a) to establish or follow reasonable procedures to avoid the disclosure of credit

informati n for impermissible purposes..

       37      The Defendants identified above in paragraphs 26 thru 31 knowingly and

willfully sed deception and false pretenses to obtain Plaintiffs consumer report, by falsely

representing or certifying that the report was being obtained for a permissible purpose.

       38      Defendants' conduct in obtaining Plaintiffs credit report under false pretenses

violates 1 U.S.C. §1681q.

       39      Either Verizon did not investigate the dispute at all or it intentionally reported

incorrect nformation. Verizon knew the account should not be reported to the CRAs. See

¶1J21&22, supra. If Verizon had conducted a reasonable investigation it would have concluded

the acco it needed to be removed from Plaintiffs credit report..

        40     Verizon had a duty under the FCRA at §1681s-2(b)(1)(D) & (E) to delete or

modify th accounts after it concluded a reasonable investigation of Plaintiff's dispute.

        41     Defendant's foregoing FCRA violations have caused the Plaintiff to incur both

economic d emotional distress damages.




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         42    Plaintiff is seeking punitive damages in the amount of $30,000 for Defendants'

willful violations of the FCRA under 15 U.S.C. §1681n. Plaintiff is also seeking actual damages
in the ount of $7,500 for Defendants' negligent and willful violations of the FCRA under 15

U.S.C. § 1681n & 1681o. Additionally, Plaintiff is entitled to statutory damages of $1,000 for

each FCItA violation and his costs for bringing this action. Lastly, Plaintiff reserves his right to

obtain a rney and seek attorney fees.
                          COUNT TWO: VIOLATIONS OF FDCPA

               Plaintiff incorporates paragraphs 1-32 by reference.
               Defendant CCS violated 15 U.S.C. §1692e by attempting to collect a debt from

Plaintiff ¶at the Plaintiff did not owe.

         4.    Defendant CCS violated 15 U.S.C. §1692e by falsely reporting an alleged debt on

the Plainifs
         : credit file(s) when CCS knew it did not have the legal right to do so.

         4 .   Defendant CCS' illegal debt collection activities have caused the Plaintiff

economic damages, in addition to emotional and mental distress damages.

         4      Plaintiff seeks actual damages in an amount of $3,000, statutory damages in an

amount o $1,000 and reserves his right to seek reasonable attorney's fees in the event he obtains

counsel.
                            COUNT THREE: VIOLATIONS OF MCDCA

         48     Plaintiff incorporates paragraphs 1-32 by reference.

         49     Defendant CCS violated § 14-202 by knowingly reporting false information,

about the laintiff, to the CRAs.

         50     Defendant CCS violated § 14-202 by attempting to enforce a right that did not

exist.


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           1.     Defendant CCS' illegal debt collection activities have caused the Plaintiff

econo c damages, in addition to emotional and mental disticss damages.

                  Plaintiff seeks actual damages in an amount of $3,000, statutory damages in an

amount bf $1,000 and reserves his right to seek reasonable attorney's fees in the event he obtains

counsel.

                REFORE, Plaintiff requests $10,500 in actual damages from all Defendants;

$30,000 n punitive damages for violations of the FCRA; $10,000 or more in statutory damages;

costs for litigating this action; and Plaintiff reserves his right to request legal fees in the event he

retains     attorney. Plaintiff further request all other relief to which he is justly entitled at law or

in equity

TRIAL Y JURY IS DEMANDED.


Dated: J e      17, 2015

Respec y submitted,

DA          BEST



Dawud B St
5800 Car le Street
Cheverly, Maryland 20785
(202) 425 8163
Pro Se P1 c intiff
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                                 CER 1 II4 ICATE OF SERVICE

           e undersigned hereby certifies that on or about the   nday of June, 2015 a true copy of
the foreg ing PLAINTIFF'S FIRST AMENDED COMPLAINT AND JURY DEMAND was

mailed,     U.S. First Class Mail with postage prepaid, to the parties listed below:

Mailed     0:


Credit One Financial                              Nathan D. Adler, Esq.
Serve: Nat'l R/A, Inc. of NV                      Neuberger, Quinn, Gielen, Rubin & Gibben,
        311 South Division Street                 P.A.
        Carson City, NV 89703                     One South Stteet, 27th Floor
                                                  Baltimore, Maryland 21202-3201
                                                  Tel: (410) 332-8516
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                                                  LLC
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Attorney for Credit Control Services, Inc.        and Verizon Maryland LLC
& Receivables Performance Management LLC
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                                                  Attorney for Verizon Communications, Inc.
                                                  and Verizon Maryland LLC




By:
      Dawu J. Best, Plaintiff

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